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      1   ANTHONY P. CAPOZZI, CSBN 068525
          LAW OFFICES OF ANTHONY P. CAPOZZI
      2   1233 W. Shaw Avenue, Suite 102
          Fresno, CA 93711
      3   Telephone: (559) 221-0200
          Fax: (559) 221-7997
      4   E-mail: capozzilaw@aol.com
      5   Attorney for Defendant,
          SERAFIN RODRIGUEZ MENDOZA
      6

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      8                          IN THE UNITED STATES DISTRICT COURT
      9                        EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10                                              * * * * *
     11
                                                        ) Case No.: CR-F-05-0127 OWW
     12   UNITED STATES OF AMERICA,                     )
                                                        ) STIPULATION FOR CONTINUANCE AND
     13                Plaintiff,                       ) PROPOSED ORDER THEREIN
                                                        )
     14         vs.                                     )
                                                        )
     15   SERAFIN RODRIGUEZ MENDOZA,                    )
                                                        )
     16                Defendant.                       )
     17

     18         IT    IS     HEREBY     STIPULATED         between       the   Defendant,        SERAFIN
     19   RODRIGUEZ MENDOZA, by and through his attorney of record, Anthony P.
     20   Capozzi,     and     Plaintiff,      by    and     through     Assistant    United     States
     21   Attorney, Virna Santos, that the Change of Plea Hearing now set for
     22   Monday,     August    28,    2006,    at    9:00      a.m.    be   continued    to   Tuesday,
     23   September 5, 2006, 2006 at 9:00 a.m.
     24         It    is     further    stipulated         by    the    parties    that    any     delay
     25   resulting from this continuance shall be excluded on the following
     26   basis:
     27         1.     Title    18,    United       States      Code,   Section    3161(h)(8)(A)      --
     28                that    the     ends of justice served by taking such action

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      1                outweighs     the    best    interest   of   the    public     and    the
      2                defendant in a speedy trial;
      3         2.     Title 18, United States Code, Section 3161(h)(8)(ii) --
      4                that it is unreasonable to expect adequate preparation for
      5                pre-trial proceedings or for the trial itself with the
      6                time limits established due to the complexity of the case.
      7                                                Respectfully submitted,
      8   Dated:     August 22, 2006
      9
                                                            /s/ Anthony P. Capozzi
     10
                                                       Anthony P. Capozzi,
     11                                                Attorney for Defendant,
                                                       Serafin Rodriguez Mendoza
     12

     13   Dated:     August 22, 2006
     14
                                                            /s/ Virna Santos
     15                                                Virna Santos,
                                                       Assistant U.S. Attorney
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                                                   ORDER
      1

      2         IT IS SO ORDERED.         Good cause having been shown, the Change of

      3   Plea Hearing now set for August 28, 2006, be continued to Tuesday,
      4
          September 5, 2006 at 9:00 a.m.            Additionally, time shall be excluded
      5
          by stipulation from the parties and pursuant to 18 USC §§ 3161(h)(A)
      6
          and 3161(h)(B)(ii).
      7

      8   Dated:     August 22___, 2006

      9                                                /s/Oliver W. Wanger
                                                       Honorable Oliver W. Wanger,
     10
                                                       U.S. District Court Judge
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